 

Case 1:12-cV-01116-ELH Document 1-2 Filed 04/12/12 Page 1 of 3

BEFORE THE MARYLAND I'IEALTH CARE

 

 

`_L `, ALTERNATIVE DISPUTE RESOLUTION OFFICE
r~`;
SONG C. LOPEZ'KRIST, *
§§ W”
Claimant, * f ' _,,_-; © @ `
V. * Case No. HCA 2012~071
RALPH T. SALVAGNO, M.D., *
CENTER FOR JOINT SURGERY AND
SPORTS MEDICINE, P.A., AND ""
MERITUS MEDICAL CENTER, INC., d/b/a
WASHINGTON COUNTY *
HOSPITAL ASSOCIATION,
Health Care Providere.

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ELECTION FOR WAIVER OF ARBITRATION
Health Care Providers, Ralph T. Salvagno, M.D. and Center for Joint Surgery
and Sporte Medicine, P.A., by and through their attorneys, Conrad W. Varner and
Varner & Geundry, A Professional Corporation, hereby declares!
Pursuant to the Annotated Code of Maryland, Courts and J udicial Proceedings
Article, Section 3'2A'06B, the Defendants hereby elect to proceed directly to the

Circuit Court for Waslnngton County, Maryland.

C…MM

;NMJ&L _

Conrad W. Varner Wf§j
VARNER & GOUNDRY

A Professional Corporation

30 Weet Patrick Street, Suite 700
Frederick, Maryland 2 1701

(301) 631-1800

Attorneye for Health Care Providers,
Ralph T. Salvagno, M.D., and
Center for Joint Surgery and Sports
Medicine, P.A.

 

'EXHIBIT 1 r.»i.:-r€ 2 8 2012

 

 

 

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CERTIFICATE OF SERVICE
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*'“ I HEREBY CERTIFY that On this 27th day of March, 2012, a copy of the
foregoing Election for Waiver ofArbitration Was Sent via regular mail, postage
prepaid tel

Robert R. Michael, Esq.
Shadoan, Michael & Wells, LLP
108 Park Avenue

Rockvi]le, M]) 20850

Attorney for Claimant

Michele L. Smith, Eequire
Adelman, Sheff & Slnith, LLC
180 Admiral Cochrane Drive
Suite 370
Annapolie, MD 21401
Attorney for Health Care Provider,
Meritus Medical Center
dib/a Washington County
Hospital Association

 

CW\/'»a,¢&/U/ \/

Conrad W. Varner v ‘L/

 

 

 

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SONG G. LOPEZ-KRIST * BEFORE THE
Claimant * HEALTH CARE
v. * ALTERNATIVE DISPUTE
RALPH T. SALVAGNO, M.D., et al * RESOLUTION OFFICE
Health Care Providers * HCA No.: 2012-071

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ORDER OF TRANSFER
Upon consideration of the Election for Waiver of Arbitration pursuant to the
Annotated Code of Maryland, Courts & Ju_dicial Proceedin Ai"ticle, filed in the above-
captioned case, it is this § Z,/V/d[day of ' , 12, by the Health Care
:-/
Altemative Dispute Resolution Office,

ORDERED, that this case shall be and is hereby, transferred to the Court of the

appropriate venue and jurisdiction

/“

Y L. <YASE, DH(ECTGR

x rrHealth Care ternative Dispute Resolution Office

  

CERTIFICATE OF SERVICE

IHEREBY CERTIFY that copies of the above ORDE
been mailed, postage prepaid, to all counsel.

  
 

 

 

 

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APF§ - 3 20‘!2

 

 

